9 F.3d 482
    Freddie EASON, et al., Plaintiffs-Appellants,v.The CITY OF MEMPHIS, et al., Defendants-Appellees.
    Nos. 92-6157, 92-6158.
    United States Court of Appeals,Sixth Circuit.
    Feb. 3, 1994.
    
      1
      Before:  MERRITT, Chief Judge;  KEITH, KENNEDY, MARTIN, JONES, MILBURN, GUY, NELSON, RYAN, BOGGS, NORRIS, SUHRHEINRICH, SILER, and BATCHELDER, Ciruit Judges.
    
    ORDER
    
      2
      A majority of the Judges of this Court in regular active service have voted for rehearing of this case en banc.  Sixth Circuit Rule 14 provides as follows:
    
    
      3
      The effect of the granting of a hearing en banc shall be to vacate the previous opinion and judgment of this court, to stay the mandate and to restore the case on the docket sheet as a pending appeal.
    
    
      4
      Accordingly, it is ORDERED that the previous decision and judgment of this court is vacated, the mandate is stayed and this case is restored to the docket as a pending appeal.
    
    
      5
      The Clerk will direct the parties to file supplemental briefs and will schedule this case for oral argument as soon as possible.
    
    